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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                              :              CHAPTER 7
                                                    :
ANDREW LAMAR COLLINS,                               :              CASE NO. 16-61864-PWB
                                                    :
         Debtor.                                    :
                                                    :

 MOTION FOR ORDER AUTHORIZING COMPROMISE AND SETTLEMENT WITH
         DEBTOR UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Andrew Lamar Collins (“Debtor”), by and through the

undersigned counsel, and files his Motion for Order Authorizing Compromise and Settlement

with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement

Motion”). In support of the Settlement Motion, Trustee respectfully shows the Court as follows:

                                    Jurisdiction and Venue

         1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                          Background

         2.    On July 7, 2016 (the “Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 13 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended,

modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy Court for the

Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating Chapter 7 Case

No. 16-61864-PWB (the “Bankruptcy Case”).



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        3.    On September 15, 2018, Debtor filed a motion to convert the Bankruptcy Case to

a case under Chapter 7 [Doc. No. 34], and, on September 17, 2018, the Bankruptcy Case was

converted to on under Chapter 7.

        4.    Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

        5.    On the Petition Date, Debtor was the owner of record of that certain real property

with a common address of 6245 Shelburne Park Lane, Mableton, Cobb County, Georgia 30126

(the “Property”).

        6.    Debtor’s interest in the Property (the “Interest”) is property of the Bankruptcy

Estate. See 11 U.S.C. §§ 348 and 541 (2016).

        7.    As part of his investigation of property of the Bankruptcy Estate, Trustee has had

the Property inspected by a licensed real estate broker and estimates that it has a value of

approximately $240,000.00.

        8.    Rather than Trustee’s selling the Interest of the Bankruptcy Estate in the Property,

Debtor would like to purchase the Interest from the Bankruptcy Estate (the “Transfer Dispute”).

                                        The Settlement

        9.    Following negotiations, Trustee and Debtor (collectively, the “Parties”) have

reached an agreement to transfer the Interest to Debtor by Trustee’s abandoning it back to Debtor

following certain payments by Debtor. In this regard, the Parties have entered into a Settlement

Agreement (the “Settlement Agreement”). Trustee attaches a copy of the Settlement Agreement




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as Exhibit “A” to this Settlement Motion. Significant terms of the Settlement Agreement are as

follows:1

                  a.       After the Settlement Approval Order becomes final, Debtor shall pay a
                           total of $28,381.20 (the “Settlement Funds”)2 in good funds to Trustee in
                           exchange for Trustee’s abandoning the Interest to Debtor in accordance
                           with the following schedule (the “Scheduled Payments”): $1,182.55 for
                           24 months, on the 15th day of each month, beginning on March 15, 2019.

                  b.       The Interest of the Bankruptcy Estate in and to the Property shall be
                           deemed abandoned upon the later of: (a) Trustee’s receipt in full of the
                           Settlement Funds from Debtor in good funds; or (b) the Settlement
                           Approval Order becoming final.

                  c.       Debtor shall insure the Property to protect the Bankruptcy Estate against
                           loss, whether casualty or personal liability, until the later of: (a) Trustee’s
                           receipt in full of the Settlement Funds from Debtor; or (b) the Settlement
                           Approval Order becoming final.

                  d.       Debtor shall pay all ad valorem real property taxes that accrue against or
                           as a result of the Property until the later of: (a) Trustee’s receipt in full of
                           the Settlement Funds from Debtor; or (b) the Settlement Approval Order
                           becoming final.

                  e.       Debtor shall pay all maintenance and repair expenses that arise from or
                           that are related to the Property until the later of: (a) Trustee’s receipt in
                           full of the Settlement Funds from Debtor; or (b) the Settlement Approval
                           Order becoming final.

                  f.       The Parties stipulate and agree that Debtor shall not have a claim under
                           Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                           account of payment of the Settlement Funds, or for any reason, and that
                           neither Debtor nor any of his affiliates, agents, principals, or subsidiaries
                           shall receive a distribution from the Bankruptcy Estate.

                  g.       Effective upon the Settlement Approval Order becoming final, Debtor
                           shall waive any and all obligations that the Bankruptcy Estate may
                           otherwise have to pay to Debtor out of the Settlement Funds on account of

1
         The following is a summary of the Settlement Agreement and is not intended to be comprehensive. To the
extent that anything in this summary is contrary to the terms of the Settlement Agreement, the Settlement
Agreement controls.
2
          Based on the price opinion provided by a licensed real estate agent, the costs following a sale (including a
real estate commission), and Debtor’s allowed exemption, Trustee estimates that the proposed settlement is almost
identical to the net proceeds that the bankruptcy estate would receive following a sale of the Property.



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                      exemptions asserted by or on behalf of Debtor, if any, in the Property, the
                      Interest, or the Settlement Funds.

               h.     If Debtor fails to pay timely the Scheduled Payments as set forth in
                      Section 2.2 of the Settlement Agreement, Debtor shall be entitled to three,
                      and only three, 5-day cure periods following notice (the “Default Notice”)
                      by Trustee to Debtor, in which Trustee shall notify Debtor that he has
                      failed to make a Scheduled Payment and which notice shall be given as set
                      forth in Section 11 of the Settlement Agreement. Following Debtor’s
                      receipt, as set forth in Section 11 of the Settlement Agreement, of a
                      Default Notice, Debtor shall have five days to cure the non-payment (the
                      “5-Day Cure Opportunity”) of the Scheduled Payment by delivering the
                      respective Scheduled Payment to Trustee as set forth in Section 2.2 of the
                      Settlement Agreement. After the three permitted cure periods have been
                      used, Trustee shall be entitled to strict compliance with all subsequent
                      payment deadlines. If Debtor: (a) fails to cure timely an unpaid Scheduled
                      Payment following one of his three 5-day Cure Opportunities, or (b) fails
                      to pay timely a Scheduled Payment after he has exhausted his two 5-day
                      Cure Opportunities, then:

                           i. Trustee shall be entitled to retain for the benefit of the Bankruptcy
                              Estate any Scheduled Payments that Debtor has made to Trustee;
                              and

                          ii. Trustee shall be entitled to and Debtor shall consent to Trustee’s
                              selling the Property.

                                        Relief Requested

        10.    By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.

                                         Basis for Relief

        11.    Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:


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        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation; (b) the difficulties, if any, to be
        encountered in the matter of collection; (c) the complexity of the litigation
        involved, and the expense, inconvenience and delay necessarily attending it; (d)
        the paramount interest of the creditors and a proper deference to their reasonable
        views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

        12.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

        13.    The proposed settlement will allow Trustee to make a meaningful distribution to

the holders of timely filed general unsecured claims in this Bankruptcy Case and avoid the costs

and risks of marketing and selling the Property through a licensed real estate broker (and also

allow Debtor to keep his primary residence).

        14.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.




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        WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate

the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

        Respectfully submitted, this 25th day of February, 2019.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
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                             EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Compromise and
Settlement with Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first
class United States mail on the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
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Andrew Lamar Collins
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Lorena Lee Saedi
Saedi Law Group, LLC
Suite 103
3006 Clairmont Road
Atlanta, GA 30329


        This 25th day of February, 2019.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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